9/7/21, 10:20 AM        Case 4:19-cv-00017-KGB      Document
                                       American Atheists           57-10
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                                                                         Atheists, et 09/07/21        Page 1 of
                                                                                      al. v. Rapert - Discovery   2
                                                                                                                matters



                                                                                                   Geoffrey T. Blackwell <gblackwell@atheists.org>



 American Atheists, et al. v. Rapert - Discovery matters
 3 messages

 Geoffrey T. Blackwell <gblackwell@atheists.org>                                            Tue, Aug 24, 2021 at 10:33 AM
 To: "William C. Bird III" <william.bird@arkansasag.gov>, Paul Byrd <paul@paulbyrdlawfirm.com>
 Cc: Abtin Mehdizadegan <abtin@cgwg.com>

    Good morning.

    As we discussed in our conference call, here is the amended Request for Production No. 6 from Plaintiffs' first set of
    discovery requests to Defendant in his official capacity:

       REQUEST FOR PRODUCTION NO. 6: Produce all emails, letters, faxes, text
       messages, social media posts and messages, and other correspondence sent by
       you on or after January 1, 2014, containing the words "block," "ban," or "mute" and any of the following terms and
       phrases:
       a. Barringer;
       b. Dempsy;
       c. Shoshone;
       d. Fernau;
       e. Godless;
       f. Atheist;
       g. Humanist;
       h. Satanist;
       i. Nonbeliever;
       j. Nonreligious;
       k. Secular;
       l. Heathen;
       m. Infidel;
       n. Leftist;
       o. Socialist;
       p. Communist;
       q. Muslim;
       r. Islamic;
       s. “Church and state”;
       t. “Project Blitz”;
       u. “Christian country”; and
       v. “Christian nation”.

    Regarding your question about the classes of Facebook data requested in Request for Production No. 4 from Plaintiffs'
    first set of discovery requests to Defendant in his official capacity, Mr. Bird, we are requesting a complete copy of the
    identified accounts.

    You indicated during the call that you would know by Wednesday, August 18th, whether your client would be willing to
    produce any of his social media data. Do you have an answer for us on that issue?
    _______________________________
    Geoffrey T. Blackwell, Esq.
    (he/him/his)
    Litigation Counsel
    American Atheists Legal Center
    American Atheists, Inc.

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    IRS Circular 230 disclosure: Any tax advice contained in this communication (including any attachments or enclosures) was not intended or written to be used,
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9/7/21, 10:20 AM         Case 4:19-cv-00017-KGB      Document
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                                                                          Atheists, et 09/07/21        Page 2 of
                                                                                       al. v. Rapert - Discovery   2
                                                                                                                 matters
 William C. Bird III <william.bird@arkansasag.gov>                                         Tue, Aug 24, 2021 at 11:22 AM
 To: "Geoffrey T. Blackwell" <gblackwell@atheists.org>, Paul Byrd <paul@paulbyrdlawfirm.com>
 Cc: Abtin Mehdizadegan <abtin@cgwg.com>


    Thanks for the clarification on the specific requests. A little point of possible miscommunication - I was
    waiting for that clarification on RFP No. 4 before providing an answer as to whether he would agree to
    produce social media data. Let Paul and I visit with our client, and we will respond.


    Sincerely,


    William C. Bird III
    Senior Assistant Attorney General

    Office of Arkansas Attorney General Leslie Rutledge



    From: Geoffrey T. Blackwell <gblackwell@atheists.org>
    Sent: Tuesday, August 24, 2021 9:33 AM
    To: William C. Bird III <william.bird@arkansasag.gov>; Paul Byrd <paul@paulbyrdlawfirm.com>
    Cc: Abtin Mehdizadegan <abtin@cgwg.com>
    Subject: American Atheists, et al. v. Rapert - Discovery matters




        EXTERNAL EMAIL

    [Quoted text hidden]



 Geoffrey T. Blackwell <gblackwell@atheists.org>                                                                               Tue, Aug 24, 2021 at 11:29 AM
 To: "William C. Bird III" <william.bird@arkansasag.gov>
 Cc: Paul Byrd <paul@paulbyrdlawfirm.com>, Abtin Mehdizadegan <abtin@cgwg.com>

    Understood, William. Thank you.
    _______________________________
    Geoffrey T. Blackwell, Esq.
    (he/him/his)
    Litigation Counsel
    American Atheists Legal Center
    American Atheists, Inc.

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